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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION



      COLONEL FINANCIAL MANAGEMENT
      OFFICER, et al.,

              Plaintiffs,

      v.                                             CASE NO. 8:22-cv-1275-SDM-TGW

      LLOYD AUSTIN, Secretary of the
      Department of Defense, et al.,

            Defendants.
      ___________________________________/


                           ORDER CERTIFYING CLASS AND
                    ISSUING CLASSWIDE PRELIMINARY INJUNCTION

              According to the Department of Defense’s August 4, 2022 “Monthly

      COVID-19 Update,” cited in the record by the Marine Corps (Doc. 224 at 7) to “un-

      derscore the individualized consideration” given to each request, 3,733 Marines have

      requested under the Religious Freedom Restoration Act a religious accommodation

      from receiving the COVID-19 vaccination ordered by the Secretary of Defense in

      August 2021. The Marine Corps has granted only eleven accommodations, less than

      three-tenths of a percent (0.295%) of the 3,733 applications. The record presents no

      successful applicant other than a few who are due for retirement and prompt separa-

      tion.

              The record shows that the other three-thousand-seven-hundred-plus religiously

      objecting Marine applicants are either denied already or rapidly proceeding to an
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      apparently (on the present record) inevitable denial, and in either instance are await-

      ing forced separation from service; regardless of seniority; regardless of specialized

      skill and training; regardless of depth and breadth of experience; regardless of distin-

      guished service; regardless of the current state of international turbulence and dan-

      ger; regardless of the place and circumstances of each applicant’s service; and regard-

      less of other considerations (for example, the difficulty in recruiting equivalent re-

      placements). The record shows that the Marine Corps’s implementation of the Sec-

      retary’s directive enjoys at least two, even if no other, benefits to the Secretary and

      the Marine Corps: unmistakable clarity and unwavering consistency. But neither is

      what RFRA commands.

            The pertinent history in this action reports that not for one Marine in continu-

      ing service (of course, a token one or five or ten Marines among the 3,733 applicants

      would not change the case) — not for one bookkeeper or for one inventory manager;

      not for one data analyst; not for one “jarhead” who served abroad “in harm’s way”

      throughout 2020 and 2021 during the height of the COVID-19 epidemic but without

      vaccination; not for a single Marine, no matter how young, strong, or gloriously

      healthy and not even if the Marine already contracted COVID-19 and recovered

      without material consequence — in not one case has the Marine Corps agreed to al-

      low any accommodation, including any already-proven-successful health and safety

      protocol, to reasonably accommodate both the health and readiness of the Marine

      Corps and the sincere religious belief of a fellow Marine. What to make of that?



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      (One searches without success for a wholesome hypothesis that both accounts for

      these facts and complies with RFRA.)

             Any reasonable, informed, and disinterested person looking at this improbably

      skewed result, especially a person familiar with the law, will acknowledge readily

      that the authority rendering this uniform course of rejection is highly unlikely to suc-

      cessfully demonstrate the bona fides of the process that produced this monolithic se-

      ries of rejections. Perhaps (we shall see in due course) not all or even most of the re-

      quests for accommodations were in fact meritorious, but the lopsided probability is

      that certainly not all, probably not even substantially all, of the applications, already

      confirmed as religiously sincere by inquiring military chaplains, were justly and fairly

      denied an accommodation after a genuine “to the person” evaluation, which is ex-

      plicitly demanded by RFRA. Is it more likely than not — in nearly all 3,733 cases —

      that no reasonable accommodation was available?

            Presumably, even in the atmosphere of 2022 and on the highly charged subject

      of COVID-19, the law and the judges still can acknowledge the obvious, regardless

      of who is discomfited. Specifically in this instance and based on the current num-

      bers, a reasonable jurist would conclude preliminarily (but always subject to a differ-

      ent conclusion on a complete record and after an adversarial evidentiary hearing)

      that the class of religiously objecting Marines is substantially likely to prevail on the

      merits of their claim that the Marines never received a fair and particularized evalua-

      tion “to the person,” that is, never received the benefit of the process commanded by

      RFRA.

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             This action — an action by a class comprising Marines who harbor a religious

      objection to receiving the COVID-19 vaccine — addresses only the contention that

      unifies the class: whether in late 2021 and throughout 2022 and before ordering Ma-

      rines to accept a vaccination religiously repugnant (to the class) the Marine Corps

      asked the questions that RFRA demands and answered those questions in the man-

      ner — that is, “to the person” — that RFRA demands. Because the record reveals

      the substantial likelihood of a systemic failure by the Marine Corps to discharge the

      obligations established by RFRA, a classwide preliminary injunction is warranted to

      preserve the status quo, to permit the full development of the record without preju-

      dice to the plaintiffs, and to permit both a trial and a detailed, fact-based resolution of

      the controlling issues of fact and law.

                                             BACKGROUND 1

             On August 24, 2021, the Secretary of the Department of Defense (DoD) di-

      rected each branch of the military “to immediately begin full vaccination of all mem-

      bers of the Armed Forces under DoD authority on active duty or in the Ready Re-

      serve, including the National Guard, who are not fully vaccinated against

      COVID-19.” (Doc. 1-4 at 1) The directive states that “[t]hose with previous




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                The original action, Navy Seal 1 et al v. Austin et al, 8:21-cv-2429-SDM-TGW (Doc. 1) com-
      prised federal employees, federal contractors, employees of federal contractors, and service members
      in each branch of the military. An order (Doc. 89) in that action severs the non-service members,
      and a later order (Doc. 194) severs the service members by branch in recognition of related class ac-
      tions on behalf of religiously objecting service members in the Navy, U.S. Navy SEALs 1-26 v. Austin,
      --- F. Supp. 3d ---, 2022 WL 1025144 (N.D. Tex. Mar. 28, 2022) (O’Connor, J.), and in the Air
      Force, Doster v. Kendall, No. 1:22-CV-84, 2022 WL 2974733 (S.D. Ohio July 27, 2022) (McFarland,
      J.). This action proceeds on behalf of the Marines only.
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      COVID-19 infection are not considered fully vaccinated.” (Doc. 1-4 at 1) However,

      according to the Secretary’s directive, the COVID-19 vaccination requirement re-

      mains “subject to any identified contraindications and any administrative or other

      exemptions established in Military Department policy,” and each branch “may

      promulgate appropriate guidance to carry out the requirements set out above.”

      (Doc. 1-4 at 1) The “other exemptions,” to which the Secretary alludes, include a re-

      ligious exemption supported by a specific statute, RFRA.

            To implement the directive, the Marine Corps on September 1, 2021, issued

      MARADMIN 462/21, under which each active duty Marine must become fully vac-

      cinated not later than November 28, 2021, and each Marine in a “reserve compo-

      nent” must become fully vaccinated not later than December 28, 2021. (Doc. 23-10

      at 3) Under MARADMIN 612/21 3(a), if a Marine fails to timely begin COVID-19

      vaccination, the Marine has “refused the vaccine” and is “processed” for administra-

      tive separation.

            Under Marine Corps Order 1730.9, a Marine requesting a religious accommo-

      dation from COVID-19 vaccination must complete a religious accommodation form

      and interview with a chaplain, “who assesses whether the [applicant’s] beliefs appear

      sincerely held.” (Doc. 23-19 ¶ 12.a) The chaplain routes the assessment through the

      chain of command to the Deputy Commandant, Manpower and Reserve Affairs.

      (Doc. 23-19 ¶ 12.a) Marine Corps Order 1730.9 instructs the Deputy Commandant

      to resolve each initial request “on a case-by-case basis” and to “articulate the factual

      basis underlying their decision.” The Deputy Commandant endeavors to resolve an

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      initial request within sixty days. (Doc. 23-19 Ex. A ¶ 4.b) The Marine receives writ-

      ten notice of the Deputy Commandant’s decision and of “any conditions or limita-

      tions placed on the approval to meet the compelling governmental interest in mission

      accomplishment.” (Doc. 23-19 Ex. A ¶ 4.b.4)

            If the initial request is denied, the Marine can appeal to the Commandant of

      the Marine Corps, who (or whose delegate) decides the appeal. (Doc. 23-19 Ex. A

      ¶ 4.c) The applicable Marine Corps regulations state, “Decisions by an Appellate

      Authority are final.” (Doc. 23-19 Ex. A ¶ 4.c.1) If the Commandant (or his dele-

      gate) denies the appeal (or if the Marine declines to appeal), the Marine receives an

      order to accept COVID-19 vaccination by a deadline, typically within two days to

      two weeks. (See, e.g., Doc. 141-2 at 21) That is, a Marine denied after appeal must

      decide within days (as few as two days in some instances) whether to betray a reli-

      gious conviction or confront court martial or separation.

            The record reveals that by February 2022 the Marine Corps had denied 3,458

      initial requests but granted no initial request and has finally denied 119 appeals and

      granted 3 appeals only (and only to those Marines eligible to, and electing to, retire).




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      (Doc. 73-4 at 3) 2 By August 2022, the Marine Corps had granted only eleven of the

      3,733 requests, less than three-tenths of a percent (0.295%).

             Considering these denials, a February 13, 2022 order (Doc. 90) directs the mil-

      itary to submit for the Marine Corps, among other branches, a sample comprising

      (1) the twenty-five most recent appellate denials and (2) every grant of a religious ac-

      commodation. The order permits the defendants “at their discretion” to submit “any

      other item in the administrative record of an applicant.”

             The submission confirms that the Marine Corps grants religious accommoda-

      tions only to the rare applicant both eligible to, and electing to, retire. In the instance

      of all other applicants, the Marine Corps in denying each appeal relies on an almost-

      identical letter, a template, a form rejection. In denying the appeals, the letter invari-

      ably finds — even if the chaplain affirms the sincerity of the religious objection to the

      COVID-19 vaccine — that the COVID-19 vaccination requirement imposes no “sub-

      stantial burden” on the applicant’s Free Exercise. And although each Marine’s ad-

      ministrative record includes an “applicant information form” specifying the circum-

      stances of the applicant’s residence (for example, “11. Does the applicant reside in

      the barracks?”), the applicant’s work (for example, “15. Does the applicant work pri-

      marily indoors?” and “16. Can the applicant perform primary duties remotely?”),

      and the applicant’s deployment status, among other things, the Marine Corps



             2
              The reporting reveals a similar rate of denial in the other branches. By February 2022, the
      Navy has denied 3,728 initial requests but granted none and has denied 81 appeals but granted none.
      (Doc. 73-3 at 3) The Air Force has denied 3,180 initial requests but granted 8 only and has denied
      443 appeals but granted 1 only. (Doc. 73-5 at 4)
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      invariably finds — regardless of the answer to these questions — that no means less

      restrictive than COVID-19 vaccination protects the Marine Corps’s interest in the

      health and readiness of the force.

            The first paragraph of each appellate denial recites introductory matter, the

      second and third paragraph identify the applicant’s religious objection, and the

      fourth paragraph describes the procedural history. The “adjudicative” paragraphs

      state with minimal variation and in boilerplate fashion:

                   5. I have determined that the COVID-19 vaccination require-
                   ment does not substantially burden your sincerely held religious
                   belief because fetal stem cells are neither used in the manufac-
                   ture of the Pfizer COVID-19 vaccine nor are they present in the
                   vaccine itself.

                   6. Nonetheless, even assuming that the COVID-19 vaccination
                   substantially burdens your religious beliefs, I have considered,
                   in accordance with references (b) and (e), your assertions con-
                   cerning your beliefs and weighed them against the govern-
                   ment’s compelling interests in military readiness and in the
                   health and safety of the force. The COVID-19 vaccine is the
                   most effective and readily available tool the Marine Corps has
                   to keep service members healthy and safe, and to ensure that
                   the Marine Corps continues to be able to accomplish its mission
                   of protecting vital national interests. Service members who are
                   fully vaccinated have significantly less risk of hospitalization,
                   severe disease, and death. The Marine Corps has seen increas-
                   ingly convincing data that service members who remain unvac-
                   cinated are more likely to experience a wide range of new, re-
                   turning, or ongoing health problems known as “long COVID”
                   after being infected with COVID-19 as opposed to those who
                   are fully vaccinated. Further, emerging variants, such as the
                   Omicron variant, which is highly transmissible, pose additional
                   concerns. Personnel who have fallen ill due to a failure to be
                   vaccinated against COVID-19 undermine a unit’s effective
                   functioning and negatively impact their unit’s ability to accom-
                   plish the mission. Moreover, personnel who are unvaccinated
                   do not just put themselves at risk, they also risk the health and
                   medical readiness of other persons within their unit, which in
                   turn decreases the military readiness of the unit and the Marine
                   Corps as a whole. For a unit to function effectively, either in
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                    garrison, in field training, or in combat, all personnel must be
                    able to perform their individually assigned duties, which en-
                    sures military readiness, another of the government’s compel-
                    ling interests. As a result, an exemption from the COVID-19
                    vaccination poses a significant risk to military readiness, and
                    the health and safety of the force, particularly in your case,
                    where you work primarily indoors, in close proximity to others,
                    and you cannot perform your duties remotely. Additionally,
                    you are attached to a deployable unit and you participate in
                    unit training that requires you to be in close proximity to other
                    Marines. Finally, you are required to be worldwide deployable
                    at a moment’s notice.

                    7. Your claim that testing for COVID-19 antibodies, masking,
                    and social distancing are less restrictive means is not supporta-
                    ble because these means are less effective than vaccination and
                    they do not achieve the Marine Corps’ compelling government
                    interest in readiness, and health and safety. While masking, so-
                    cial distancing, hygiene, teleworking, and other similar
                    measures, individually or in combination, have been shown to
                    help slow the spread of the virus, they are simply not as effec-
                    tive as vaccination, particularly against the Omicron variant.
                    Moreover, these measures are often incompatible with the de-
                    mands of military life, where Marines and Sailors must live,
                    work, realistically train, and, if necessary, fight in close quar-
                    ters. The demands of military life render these less restrictive
                    means of furthering the government’s compelling interests in
                    military readiness and the health and safety of the force even
                    less effective than such measures among the civilian commu-
                    nity. Accordingly, because there are no less restrictive means to
                    ensure these compelling government interests, your appeal is
                    disapproved. 3

             These boilerplate letters have denied, for example, a request from (1) a Marine

      who “works in an office by himself” supervising “social media accounts” and creat-

      ing internet content (Doc. S-109-4 at 102), (2) a Marine who “works with one other

      individual” in a one-thousand-seven-hundred square foot area and whose “daily



             3
              (Compare Doc. S-109-2 at 17, with Docs. S-109-3 at 6–7, 30–31, 61–62, 95–96; S-109-4 at
      20–21, 58–59, 83–84, 115–16, 167–68, 210–11; S-109-5 at 27–28, 53–54, 84–85, 152–53, 179–80,
      208–09; S-109-6 at 16–17, 44–45, 75–76, 174–75, 207–08; and S-109-7 at 8–9, 41–42).
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      operations can be (and currently are) accomplished via telework” (Doc. S-109-4

      at 198), (3) two Marines who work as a graphic specialist at a computer “in a private

      office with one other Marine” (Doc. S-109-5 at 26, 151, 166), (4) a Marine on “lim-

      ited duty status” and “currently executing Separations Orders . . . for medical evalua-

      tion and release from service” (Doc. S-109-6 at 32), and (5) a Marine who “works in

      an office with four other Marines over six feet apart” and who is not attached to a de-

      ployable unit (Doc. S-109-7 at 89–90).

             After these final denials, several orders in this action granted preliminary in-

      junctive relief on behalf of three plaintiff Marines finally denied a religious accom-

      modation despite a religious objection to COVID-19 vaccination. Contemporaneous

      with the issuance of preliminary injunctive relief on behalf of the three Marine plain-

      tiffs in this action, a district court in the Northern District of Texas certified a class

      comprised of, and issued a preliminary injunction on behalf of, religiously objecting

      service members in the Navy. U.S. Navy SEALs 1-26 v. Austin, --- F. Supp. 3d ---, 2022

      WL 1025144 (N.D. Tex. Mar. 28, 2022). Similarly, a district court in the Southern

      District of Ohio certified a class comprising religiously objecting service members in

      the Air Force and soon after granted a classwide preliminary injunction. Doster v.

      Kendall, No. 1:22-CV-84, 2022 WL 2974733 (S.D. Ohio July 27, 2022).

                                            DISCUSSION

             Count II under the First Amendment challenges the Marine Corps’s imple-

      mentation of the vaccination requirement and Count III under RFRA challenges the

      Marine Corps’s vaccination requirement. Because for a service member RFRA

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      “provide[s] greater protection . . . than is available under the First Amendment,” Holt

      v. Hobbs, 574 U.S. 352, 357 (2015) (citing Burwell v. Hobby Lobby Stores, Inc., 573 U.S.

      682, 694–95 (2014)), the RFRA claim demands primary consideration (after all, if a

      Marine’s RFRA claim fails, the Marine’s First Amendment claim necessarily fails). 4

             The motion (Doc. 35) for class certification is fully briefed (Doc. 42) and re-

      soundingly supplemented (Docs. 113, 146, 166, 176, 190). The motion (Doc. 2) for a

      classwide preliminary injunction is fully briefed (Doc. 23) and resoundingly supple-

      mented (Docs. 30, 51, 74, 104, 113, 146, 166, 176, 206).

                                            I. Justiciability

             The Marine Corps contends that the plaintiffs’ RFRA claims against the mili-

      tary lack justiciability in federal court and remain unripe for lack of administrative

      exhaustion. The resolution of justiciability must precede the assessment of the mo-

      tion for class certification and the motion for preliminary injunction.

      A.     RFRA secures in federal court a claim against the military.

             RFRA was a bi-partisan enactment (although in 1993 the President, the

      Speaker of the House, and the Majority Leader in the Senate were Democrats). Spe-

      cifically, two months after then-Representative Charles Schumer (and more than

      one-hundred other representatives, both Republicans and Democrats) introduced

      RFRA, H.R. 1308, 103d Cong. (1993), the House of Representatives passed the bill

      by a two-thirds voice vote. 139 Cong. Rec. 9,687 (1993). The Senate amended the



             4
              An earlier order (Doc. 40) denies a preliminary injunction on Count I, a claim under the
      Food, Drug, and Cosmetic Act.
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      bill and passed the amended version by a vote of 97 yeas to 3 nays. 139 Cong. Rec.

      26,416. After unanimously consenting to the Senate’s amendment, 139 Cong. Rec.

      27,241, the House presented RFRA to President Clinton on November 5, 1993. 139

      Cong. Rec. 32,215. President Clinton promptly signed RFRA.

             In addition to the fealty perennially owed a duly enacted statute, RFRA war-

      rants heightened and focused attention and diligent compliance by the government,

      including the military, and discerning enforcement by the courts. Enjoying singu-

      larly bi-partisan support, RFRA expressly restores against intrusion by the federal

      government the protection for Free Exercise suddenly eroded by the Supreme Court

      in Employment Division v. Smith, 494 U.S. 872 (1990). 5 Entrusted with a now-more-

      specific and customized statutory remedy, the courts must take care not to, for the

      second time and athwart the statute, withdraw or diminish the protection for Free

      Exercise that is restored by this pointedly and purposefully created statute. When

      Congress acts to preserve liberty, especially a liberty historically and constitutionally

      fundamental to the United States, the courts — the intended preserve of liberty —

      must not evade or equivocate, must not, so to speak, sacrifice the fundamental right

      of thousands of privates to Free Exercise in order to gratify the preference of a few

      generals.




             5
                Smith decisively (and—to Congress—objectionably) departed from, and sharply confined,
      the seemingly settled and longstanding constitutional law exemplified by Sherbert v. Verner, 374 U.S.
      398 (1963), and Wisconsin v. Yoder, 406 U.S. 205 (1972). A detailed account of the pertinent history
      of the Supreme Court’s Free Exercise opinions and Congress’s prompt enactment of RFRA appears
      earlier in this action at Doc. 40, pp. 8–20, and Doc. 111, pp. 16–29.
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            RFRA requires that the federal government bear the burden of answering

      some statutorily prescribed questions, including by demonstrating that a compelling

      governmental interest requires the proposed action and that no less restrictive means

      is available to permit both the reasonable accommodation for Free Exercise and the

      reasonable preservation of the compelling interest. The statutorily stated purpose of

      RFRA, 42 U.S.C. § 2000bb, is “(1) to restore the compelling interest test . . . in all

      cases where free exercise of religion is substantially burdened[] and (2) to provide a

      claim or defense to persons whose religious exercise is substantially burdened by gov-

      ernment.” To enable those, including Marines, whose Free Exercise is improperly

      restricted to pursue RFRA’s statutory remedy, RFRA amends 42 U.S.C. § 1988, the

      Civil Rights Attorney’s Fees Awards Act of 1976, Public Law 94–559, to allow in a

      RFRA action an award to the prevailing party, other than the United States, of a rea-

      sonable attorney’s fee and costs, including expert witness fees. RFRA includes spe-

      cific and unequivocal commands to the government, defined to include every

      “branch, department, agency, instrumentality, and official (or other person acting un-

      der color of law) of the United States.” Obviously, RFRA includes everyone from

      the President to a park ranger, from the Chief Justice of the United States to a proba-

      tion officer, from the Speaker of the House to a member’s district office staffer, from

      the Chairman of the Joint Chiefs of Staff to a military recruiter — even if they don’t

      like it and even if they don’t agree with it. The Free Exercise Clause and RFRA are

      the law of the land.



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            Among RFRA’s express and explicit findings are that the government “should

      not substantially burden religious exercise without a compelling justification” and

      that the “compelling interest test” that RFRA restores is a “workable test” that de-

      mands “striking a sensible balance between religious liberty and competing prior gov-

      ernmental interests.” With the notions of a “workable test” and a “sensible balance”

      featured conspicuously, the statute proscribes any substantial burden on Free Exer-

      cise unless the government “demonstrates” (a statutorily defined term) that the sub-

      stantial burden (1) “is in furtherance of a compelling governmental interest” and

      (2) “is the least restrictive means of furthering that compelling governmental inter-

      est.” Explaining that the government must meet a “burden of proof,” RFRA defines

      “demonstrates” as “meets the burdens of going forward with the evidence and of per-

      suasion.” That burden is the same for preliminary injunctive relief.

            Thus, RFRA secures for a Marine (and any service member) a claim against

      the military for violation of Free Exercise. Article I, Section 8, Clause 14 of the Con-

      stitution vests Congress with the plenary authority “[t]o make Rules for the Govern-

      ment and Regulation of the land and naval Forces[.]” By enacting RFRA, Congress

      exercised this plenary authority to guarantee the “broad protection for religious lib-

      erty.” Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 706 (2014). To ensure com-

      prehensive protection of Free Exercise, Congress under 42 U.S.C. § 2000bb-2(1) ex-

      tends RFRA to govern any substantial burden imposed by a “branch, department,

      agency, instrumentality, and official (or other person acting under color of law) of



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      the United States.” No exemption, whether express or implied, relieves the military

      of RFRA’s command. 6

              Further, RFRA expressly creates a remedy in district court. Entitled “Judicial

      Relief,” 42 U.S.C. § 2000bb-1(c), allows “[a] person whose religious exercise has

      been burdened in violation of this section” to “assert that violation as a claim or de-

      fense in a judicial proceeding and obtain appropriate relief against a government.”

      RFRA includes no administrative exhaustion requirement and imposes no jurisdic-

      tional threshold. No exemption, whether express or implied, insulates a military in-

      fringement of Free Exercise from review in the district court.

              Explaining RFRA’s application to the military, Singh v. McHugh, 185 F. Supp.

      3d 201, 217–18 (D.D.C. 2016), observes:

                      RFRA applies to the “government,” which is defined to include
                      a branch, department, agency, instrumentality, and official (or
                      other person acting under color of law) of the United States.”
                      42 U.S.C. § 2000bb–2(1). So, on its face, the statute plainly ap-
                      plies to the U.S. Army. And defendants acknowledge that Con-
                      gress specifically intended RFRA to apply to the military. Hr’g
                      Tr. at 35; see also S. Rep. No. 103–111, at 12 (1993) (“Under


              6
                “[C]ourts must—at least initially—indulge the optimistic presumption that the military will
      afford its members the protections vouchsafed by the Constitution, by the statutes, and by its own
      regulations.” Hodges v. Callaway, 499 F.2d 417, 424 (5th Cir. 1984). But that deference “does not jus-
      tify the abdication of the responsibility, conferred by Congress, to apply [a statute’s] rigorous stand-
      ard.” Holt v. Hobbs, 574 U.S. 352, 364 (2015). Holt charges that the Religious Land Use and Institu-
      tionalized Persons Act—RFRA’s “sister statute”—“does not permit such unquestioning deference”
      to a decision by a prison official even if that decision affects health, safety, good order, and disci-
      pline. Holt, 574 U.S. at 364. The defendants cite no authority—governing or persuasive—to suggest
      that a military personnel decision allegedly violative of RFRA enjoys immunity from judicial re-
      view. To the contrary, determining whether a government official’s action contravenes a statutory
      directive is singularly within the expertise of a district court. See Holt, 574 U.S. at 866 (emphasizing
      that RLUIPA “demands much more” than deferring to an official’s “mere say-so that they could not
      accommodate petitioner’s request”); Harmon v. Brucker, 355 U.S. 579, 582 (1958); Emory v. Sec’y of
      Navy, 819 F.2d 291, 294 (D.C. Cir. 1987); Dilley v. Alexander, 603 F.2d 914, 920 (D.C. Cir. 1979) (“It
      is the duty of the federal courts to inquire whether an action of a military agency conforms to the
      law[.]”); Singh v. McHugh, 185 F. Supp. 3d 201, 218–22 (D.D.C. 2016); Heap v. Carter, 112 F. Supp.
      402 (E.D. Va. 2015).
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                   the unitary standard set forth in [RFRA], courts will review the
                   free exercise claims of military personnel under the compelling
                   governmental interest test.”); H.R. Rep. No. 103–88 (1993)
                   (“Pursuant to the Religious Freedom Restoration Act, the
                   courts must review the claims of prisoners and military person-
                   nel under the compelling governmental interest test.”)

            Despite the unmistakable message of the Free Exercise Clause, RFRA, and

      decisions applying RFRA, such as Gonzales v. O Centro Espirita Beneficente Uniao do

      Vegetal, 546 U.S. 418 (2006), the Marine Corps repeatedly argues as if none of the

      three exists (or, at least, as if none of the three affects the command discretion of the

      Marine Corps). The Marine Corps persistently and resolutely clings to the belief that

      their accustomed and unfettered command discretion need not yield — on the nar-

      row and specific question of Free Exercise — to the statutory command of RFRA or

      to an order under RFRA from a district court (actually, at this moment, orders from

      several district courts), the forum selected by Congress and enacted in RFRA to re-

      solve a dispute under RFRA (in other words, Congress and the President, not the dis-

      trict court, chose the district court as the proper forum for service members to assert

      the RFRA claim asserted in this action). The Marine Corps repeatedly asserts, “The

      Supreme Court has made clear: ‘Judges are not given the task of running the Army,’”

      a quote from Orloff v. Willoughby, 345 U.S. 83, 93 (1953), a dispute resolved forty

      years before the enactment of RFRA. Although certainly not “given the task of run-

      ning the Army,” the courts in the narrow instance of RFRA are assigned to, and en-

      trusted to, ensure that those who run the Marine Corps (and the military in general

      and every other component of the federal government) conform their actions to the

      governing law, to RFRA, to which the admirals and the generals and the
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      commandants are unquestionably subordinate — just like the President, the Speaker

      of the House, the Chief Justice, and every other person in the federal government.

      To repeat: Yes, Congress and the President, not the courts, govern the military. But

      Congress and the President in governing the military and by enacting RFRA have es-

      tablished — for the narrow category of Free Exercise — an action and a remedy in

      the district court, have specified and placed the burden of proof on the military, and

      have allowed for an “appropriate remedy” to ensure a service member’s Free Exer-

      cise. That conclusion is not fairly contestable, and the military must acquiesce to the

      command of Congress and the President in that respect. A service member can sue

      in a district court to enjoin a violation of RFRA. 7 And the pursuit of relief from a

      systemic deprivation of Free Exercise, preserved and protected by RFRA, presents a

      claim uniquely susceptible to resolution in the district court. This order and this ac-

      tion will proceed accordingly.

      B.      The plaintiffs present a ripe claim.

              The Marine Corps argues that the plaintiffs’ RFRA claim — even if justiciable

      in federal court — remains unripe for lack of administrative exhaustion. Generally,

      an action against the military requires administrative exhaustion — a “prudential,



              7
                According to Speigner v. Alexander, 248 F.3d 1292, 1295 n.5 (11th Cir. 2001), the test in
      Mindes v. Seaman, 453 F.2d 197 (5th Cir. 1971), no longer determines justiciability in actions by ser-
      vice members against the military for a claim “based on an injury incident to service.” See also Doe v.
      Garrett, 903 F.2d 1455, 1463 n.15 (11th Cir. 1990) (“[I]t appears well established that Mindes need
      not be applied before reaching the merits of a statutory claim against the military.”); but see Stinson v.
      Hornsby, 821 F.2d 1537, 1540–41 (11th Cir. 1987) (remanding case against the military to district
      court to apply Mindes factors). If the Mindes factors govern justiciability, the Mindes test is thoroughly
      and convincingly satisfied for the reasons stated in Air Force Officer v. Austin, 5:22-cv-00009-TES
      (M.D. Ga. Feb. 15, 2022), and U.S. Navy SEALs 1–26 v. Biden, --- F. Supp. 3d ---, 2022 WL 34443
      (N.D. Tex. Jan. 3, 2022), and throughout this action.
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      and not jurisdictional” component of ripeness. Winck v. England, 327 F.3d 1296,

      1300 (11th Cir. 2003), abrogated on other grounds as recognized in Santiago-Lugo v. Warden,

      785 F.3d 467 (11th Cir. 2015). As Winck confirms, abstention to the military is a

      judge-made doctrine grounded in comity. But “RFRA ‘operates as a kind of super

      statute, displacing the normal operation of other federal laws[.]’” U.S. Navy Seals 1-26

      v. Biden, 27 F.4th 336, 346 (5th Cir. 2022) (quoting Bostock v. Clayton County, 140 S.

      Ct. 1731, 1754 (2020)). “It would not be a stretch to conclude that RFRA must also

      displace a judge-created abstention doctrine” in favor of the military. U.S. Navy Seals

      1-26, 27 F.4th at 346. “[W]hen Congress addresses a question previously governed

      by a decision rested on federal common law[,] the need for such an unusual exercise

      of lawmaking by federal courts disappears.” City of Milwaukee v. Illinois, 451 U.S.

      304, 314 (1981).

             In any event, each member of the class has exhausted the administrative rem-

      edy. Each member of the class applied for a religious accommodation, was denied a

      religious accommodation, timely appealed the denial of the religious accommoda-

      tion, and was denied (or imminently will be denied) after appeal. And under Marine

      Corps Order 1730.9, the “[d]ecisions by an Appellate Authority” adjudicating a reli-

      gious accommodation “are final.” (Doc. 23-19 Ex. A ¶ 4.c.1) Accordingly, under

      the Marine Corps’s regulations, the proposed class has exhausted the administrative

      remedy and need pursue no other internal remedy before suing in federal court to ac-

      quit their right to Free Exercise as guaranteed by RFRA. To the extent that adminis-

      trative exhaustion remains a requirement despite the enactment of RFRA, which

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      imposes no exhaustion or other pre-suit requirement, the class has fully exhausted

      the requirement by pursuing a religious accommodation through finality.

            Resisting the avowed “finality” of the denial of an appeal, the Marine Corps

      contends that a Marine unlawfully denied a religious accommodation can petition

      the Review Board during the Marine’s separation proceedings and can petition the

      Board for Correction of Naval Records after discharge. But “‘exhaustion is not re-

      quired where . . . irreparable injury will result if the complaining party is compelled

      to pursue administrative remedies[] or an administrative appeal would be futile.’”

      Winck, 327 F.3d at 1304 (quoting Linfors v. United States, 673 F.2d 332, 334 (11th Cir.

      1982)). Even if either board has the power to override the “final” denial of a reli-

      gious accommodation (nothing in the record suggests this power), each internal rem-

      edy becomes available only after the Marine has received a final denial, only after the

      Marine has violated the accompanying order to accept vaccination, and only after a

      separation proceeding has begun against the Marine. And, as explained in section

      III.C, a Marine unlawfully denied a religious accommodation and ordered to accept

      vaccination (often by an acutely abbreviated deadline) suffers immediate, irreparable

      harm to Free Exercise even if an administrative mechanism might afford some relief

      in the future. Thus, even if the burden of administrative exhaustion remains despite

      RFRA and despite the Marines pursuing the religious accommodation through the

      “finality” of the process, the irreparable harm exception to administrative exhaustion




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      attaches, the claim is ripe, and an action and remedy lie immediately in federal

      court. 8

                                            II. Class certification

      A.      The type of class

              Construed with the benefit of several hearings, the motion (Doc. 35) pursues

      certification of a class comprising religiously objecting Marines who received a chap-

      lain’s affirmation of sincerity, who applied for a religious accommodation from

      COVID-19 vaccination, who were denied an accommodation, and who timely ap-

      pealed the denial, and who were or will be denied with finality after appeal and or-

      dered to accept COVID-19 vaccination. This analysis addresses the “type[] of class

      action” under Rule 23(b) before addressing the other pre-requisites to certification

      under Rule 23(a).

              The traditional vehicle to vindicate the widespread deprivation of civil rights,

      including the deprivation of Free Exercise, Rule 23(b)(2) permits the maintenance of

      a class action “if . . . the party opposing the class has acted or refused to act on

      grounds applying throughout the class, so that final injunctive relief or corresponding

      declaratory relief is appropriate respecting the class as a whole[.]” “Rule 23(b)(2) has

      been liberally applied in the area of civil rights.” Bumgarner v. NCDOC, 276 F.R.D.



              8
                Also, the near unanimous denial of every appeal reveals a substantial likelihood that other
      administrative remedies are futile. Winck, 327 F.3d at 1304 (affirming that in military actions futility
      remains an exception to administrative exhaustion). And the resort to two-day warnings of discharge
      (and, in the instance of First Lieutenant and undoubtedly others, suddenly charging daily rent of
      more than $100 to remain in military housing while packing one’s family and searching for civilian
      housing) suggests retribution and retaliation, the existence of which detracts from the Marine
      Corps’s claim elsewhere in this action to good faith treatment of a religious objector.
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      452, 457 (E.D.N.C. 2011) (Boyle, J.); Wright & Miller, 7AA Fed. Prac. & Proc. Civ.

      § 1776 (3d ed.) (discussing the range of civil-rights actions certified pursuant to

      Rule 23(b)(2) and explaining that “the class suit is a uniquely appropriate procedure

      in civil-rights cases”).

             Rule 23(b)(2) presents two express requirements. First, the Marine Corps

      must have acted or failed to act on grounds that apply generally to the class. The

      plaintiffs contend that the record reveals in the Marine Corps a systemic failure — in

      violation of RFRA — to conduct an individualized assessment of each sincerely ob-

      jecting Marine, to consider the suitability of a compromise accommodation, and to

      consider the feasibility of relaxing for each applicant the requirement of deployabil-

      ity. In other words, the plaintiffs challenge not the correctness of the legal or factual

      sufficiency of any particular denial but challenge both the common but allegedly defi-

      cient process on which the Marine Corps relies in denying the requests uniformly

      and en masse and the allegedly inflexible, conclusory, vague, and overbroad rationali-

      zations used by the Marine Corps in uniformly refusing accommodation. The plain-

      tiffs’ contentions accord comfortably with the purpose and design of Rule 23(b)(2).

      Brown v. Plata, 563 U.S. 493, 532 (2011) (observing that Rule 23(b)(2) is especially

      suited to remedy “systemwide violation[s]” resulting from “systemwide deficien-

      cies.”); see also, U.S. Navy SEALs 1-26 v. Austin, --- F. Supp. 3d ---, 2022 WL 1025144

      (N.D. Tex. Mar. 28, 2022) (certifying under Rule 23(b)(2) a class of religiously ob-

      jecting service members in the Navy); Doster v. Kendall, No. 1:22-CV-84, 2022 WL

      2974733 (S.D. Ohio July 27, 2022) (granting classwide preliminary relief “due to the

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      systematic nature of what the Court views as violations of Airmen’s constitutional

      rights to practice their religions . . . .”)

             Further, the plaintiffs contend persuasively (on the present record) that the de-

      nial of each of the thousands of requests for religious accommodation confirms that

      the Marine Corps is subject to a systemic deficiency manifesting the organized disre-

      gard of RFRA. As the late Richard Nagareda observes:

                       If the wrong of the defendant comes into focus only when one
                       looks at the situation in the aggregate, then it would seem odd
                       for the procedural mode of the litigation to take anything other
                       than a commensurately aggregate form. In this regard, the argu-
                       ment for class certification starts to resemble the “core” justifi-
                       cation for class treatment—to make marketable as an aggregate
                       unit claims that would not be marketable individually. With re-
                       spect to situations of both aggregate proof and unmarketable
                       claims—especially when those two features coincide—the very
                       real fear is that, absent aggregate procedure, a wrong of consid-
                       erable significance in the aggregate will go unremedied.

      Nagareda, Class Certification in the Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 124

      (2009). 9

             Viewed in isolation, the erroneous denial of an accommodation for a particu-

      lar religiously objecting Marine reveals no more than the erroneous denial for that

      Marine. But fixation on the plight of a particular religiously objecting Marine (or on

      only the Marines appearing as plaintiffs) diverts attention from the systemic defi-

      ciency under which the Marine Corps’s religious accommodation procedure appar-

      ently labors. Because in this action the wrong in the aggregate suggests strongly and

      includes a wrong in the particular, the class is especially suitable for certification


             9
                 In the context of the article, “marketable” means economically feasible.
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      under Rule 23(b)(2). See Doster, 2022 WL 2760455 (“Because Defendants have uni-

      formly maintained a policy of overriding Airmen’s religious objections to the

      COVID-19 vaccine, they have acted ‘on grounds that apply generally to the class.’”)

            Second, a Rule 23(b)(2) class must primarily pursue declaratory and injunctive

      relief — not damages. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 362–363 (2011).

      The class pursues declaratory and injunctive relief only.

            Opposing class certification under Rule 23(b)(2), the Marine Corps principally

      argues that the denial of a religious accommodation “is highly fact-specific” and re-

      quires, among other things, an examination “with respect to each and every class

      member whether, in light of their roles, job responsibilities, and workplaces, the gov-

      ernment may use any means less restrictive than vaccination to advance its compel-

      ling interests in preventing the spread of the virus . . . .” (Doc. 42 at 16) But the Ma-

      rine Corps in that argument opposes a case that has not been brought and a motion

      that is not pending.

            The specific issue that unifies the class is the organized, purposeful, and sys-

      temic failure to resolve the requests for a religious accommodation in accord with the

      burden imposed by RFRA. A favorable outcome on the “particular issue,” common

      among, and typical of, the class resolves not an ancillary or academic aspect of the

      class members’ claim against the Marine Corps but resolves a central issue —

      whether the Marine Corps has systematically failed to discharge the burden of proof

      and other requirements under RFRA.



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      B.     The pre-requisites to certification

             Under Rule 23(a), Federal Rules of Civil Procedure, “One or more members

      of a class may sue or be sued as representative parties on behalf of all members only

      if: (1) the class is so numerous that joinder of all members is impracticable; (2) there

      are questions of law or fact common to the class; (3) the claims or defenses of the

      representative parties are typical of the claims or defenses of the class; and (4) the

      representative parties will fairly and adequately protect the interests of the class.”

             But before assessing each requirement of Rule 23(a), “a district court must de-

      termine that a proposed class is ‘adequately defined and clearly ascertainable.’”

      Cherry v. Dometic Corp., 986 F.3d 1296, 1302 (11th Cir. 2021). An ascertainable class

      exists “if it is adequately defined such that its membership is capable of determina-

      tion.” Cherry, 986 F.3d at 1304. “A class is not ascertainable unless the class defini-

      tion contains objective criteria that allow for class members to be identified in an ad-

      ministratively feasible way. Identifying class members is administratively feasible

      when it is ‘a manageable process that does not require much, if any, individual in-

      quiry.’” Karhu v. Vital Pharms., Inc., 621 Fed. Appx. 945, 946 (11th Cir. 2015) (citing

      Bussey v. Macon Cnty. Greyhound Park, Inc., 562 Fed. Appx. 782, 787 (11th Cir. 2014)).

             The Marine Corps argues that RFRA applies only if the objector harbors a sin-

      cere religious belief and argues that sincerity of belief is subjective and incapable of

      ascertainment by objective criteria. Although the identification of a Marine harbor-

      ing a sincere religious objection to COVID-19 vaccination might present difficulties

      in other instances (the sincerity of belief is, of course, necessarily an individualized

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      determination), the record in this action presents an objective method of ascertain-

      ment. As a requirement of applying for a religious accommodation, each Marine

      must interview with a chaplain, who assesses whether the “Requester’s beliefs (con-

      science, moral principles, or religious beliefs) seemed honestly and sincerely held.”

      Each chaplain must complete this checklist:




      (Doc. 23-19 at 32). Accordingly, the record presents an objective method — readily

      ascertainable by the Marine Corps — to identify each sincerely objecting applicant. 10

              Also, the Marine Corps argues that “it remains unclear which named ‘class

      representatives’ will be in the class” because the appeals of some plaintiffs remain

      pending. (Doc. 206 at 2) But most of the plaintiffs have received the final denial of

      an appeal and the accompanying order to accept COVID-19 vaccination and thus are

      readily ascertainable as class representatives.




              10
                 Although a Marine lacking a chaplain’s affirmation of sincerity is outside the class, the ex-
      istence of this class creates no barrier to that Marine’s suing under RFRA in a federal court of appro-
      priate venue and pursuing a challenge that the Marine Corps erred by finding the Marine insincere.
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             1.     Numerosity

             “While there is no fixed numerosity rule, generally [fewer] than twenty-one is

      inadequate, more than forty is adequate, with numbers in between varying according

      to other factors.” Cox v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986).

      “Rule 23(a)(1) imposes a ‘generally low hurdle,’ and a plaintiff need not show the

      precise number of members in the class.’” Muzuco v. Re$ubmitIt, LLC, 297 F.R.D.

      504, 514 (S.D. Fla. 2013) (quoting Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1267

      (11th Cir. 2009)). The Marine Corps has denied with finality hundreds of appeals

      from religiously objecting Marines; thus the class is sufficiently numerous. The con-

      tinual growth of this class further undermines the practicability of joinder and thus

      demonstrates “that the class is sufficiently numerous.” Gonzalez v. Sessions, 325

      F.R.D. 616, 622 (N.D. Cal. 2018), aff’d sub nom. Gonzalez v. Barr, 955 F.3d 762 (9th

      Cir. 2020).

             2.     Commonality

             To satisfy commonality, the class claims “must depend upon a common con-

      tention of such a nature that it is capable of classwide resolution — which means that

      the determination of its truth or falsity will resolve an issue central to the validity of

      each one of the claims in one stroke.” Dukes, 564 U.S. 338, 350 (2011).

                    ‘What matters to class certification . . . is not the raising of com-
                    mon ‘questions’—even in droves—but rather, the capacity of a
                    class-wide proceeding to generate common answers apt to drive
                    the resolution of the litigation. Dissimilarities within the




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                     proposed class are what have the potential to impede the gener-
                     ation of common answers.’

      Dukes, 564 U.S. at 350 (quoting Nagareda, Class Certification in the Age of Aggregate

      Proof, 84 N.Y.U. L. Rev. 97, 131–32 (2009). 11

             The record presents two questions common to the class: (1) does the uniform

      denial of requests for a religious accommodation and other evidence reveal a policy-

      in-fact of denying all religious accommodations except for the rare Marine both elect-

      ing to, and eligible to, retire (and, perhaps, excepting a smattering of other trivial in-

      stances) and (2) does the analysis — uniformly applied to every applicant — used by

      the Marine Corps fail to conform to the analysis required by RFRA? If the answer to

      either question is “yes,” the Marine Corps has failed to discharge the burden that

      RFRA demands and cannot impose the COVID-19 vaccination requirement against

      the class. See Doster, 2022 WL 2760455, *4 (observing that “the putative class mem-

      bers face the same injury: violation of their constitutional freedom by Defendants’

      clear policy of discrimination against religious accommodation requests.”).

             3.      Typicality

             “[T]ypicality measures whether a sufficient nexus exists between the claims of

      the named representatives and those of the class at large.” Busby v. JRHBW Realty,

      Inc., 513 F.3d 1314, 1322 (11th Cir. 2008). “Although typicality and commonality

      may be related, we have distinguished the two concepts by noting that,


             11
                 But unlike Dukes, in which a putative class challenged the allegedly discriminatory pay
      practices of autonomous Wal-Mart managers scattered throughout the United States, a Marine de-
      nied a religious accommodation appeals directly to the Commandant of the Marine Corps, and the
      appeal is resolved by a centralized designated cadre of Assistant Commandants.
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      ‘[t]raditionally, commonality refers to the group characteristics of the class as a

      whole, while typicality refers to the individual characteristics of the named plaintiff

      in relation to the class.’” Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1275 (11th Cir.

      2009) (quoting Piazza v. Ebsco Indus., Inc., 273 F.3d 1341, 1346 (11th Cir. 2001)).

      With respect to the “particular issue” of the Marine Corps’s failure to conduct the

      analysis required by RFRA, the named plaintiffs are typical: each has applied for a

      religious accommodation and has appealed or will appeal the denial of a religious ac-

      commodation, and each has received, or is likely to imminently receive, a denial.

      Although factual differences about the conditions of service persist, “a strong similar-

      ity of legal theories will satisfy the typicality requirement despite substantial factual

      differences.” Prado-Steiman ex rel. Prado v. Bush, 221 F.3d 1266, 1279 n.14 (11th Cir.

      2000). That each Marine might have a basis to challenge on atypical grounds the re-

      jection of an accommodation is not inconsistent at all with each Marine’s having an-

      other basis, common to all, to challenge the denial. See Doster, 2022 WL 2760455, *6

      (“The typicality of the putative class is reflected in the fact that [the Air Force has] in-

      discriminately denied almost all religious accommodation requests and their use of

      form letters to deny the accommodation requests.”)

             4.     Adequacy of representation

             The plaintiffs lack a “substantial conflict of interest” with the rest of the class

      and the record shows the plaintiffs’ ability and willingness to resolutely prosecute this

      action. Accordingly, the plaintiffs can fairly and “adequately protect the interests of

      [the class].” Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1189 (11th Cir.

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      2003). The Marine Corps speculates that counsel likely “selected” plaintiffs with a

      stronger claim than absent class members. (Doc. 206 at 5) But nothing in the record

      suggests the inadequacy of any the class representatives to pursue the claim that uni-

      fies the class.

             Also, to appoint class counsel under Rule 23(g)(1)(A), Federal Rules of Civil

      Procedure, a district court must consider:

                        (i) the work counsel has done in identifying or investigating po-
                        tential claims in the action; (ii) counsel's experience in handling
                        class actions, other complex litigation, and the types of claims
                        asserted in the action; (iii) counsel’s knowledge of the applica-
                        ble law; and (iv) the resources that counsel will commit to rep-
                        resenting the class[.]

      The plaintiffs’ lawyers –– Mathew D. Staver, Roger K. Gannam, Daniel J. Schmid,

      Horatio G. Mihet, and Richard L. Mast, Jr., — are able, experienced, and successful

      constitutional and civil rights litigators. Mihet declares (Doc. 35-1) that the lawyers’

      experience includes representing plaintiffs who allege violation of religious liberties,

      advocating for citizens who harbor a religious objection to the COVID-19 vaccine,

      and managing class and other complex litigation. As demonstrated by the record,

      the plaintiffs’ lawyers have dedicated substantial resources to identifying and investi-

      gating claims on behalf of the class. The Marine Corps contests neither the ability

      nor experience of the lawyers, who show a willingness to commit the attention re-

      quired and to dedicate the resources necessary for adequate class representation.

                             III. Motion for classwide preliminary injunction

             A preliminary injunction issues only if the movant shows (1) a substantial like-

      lihood of success on the merits, (2) a substantial likelihood of irreparable injury
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      absent an injunction, (3) an imbalance of equities favoring the movant, and (4) an

      unlikelihood of the injunction’s injuring the public interest. Siegel v. LePore, 234 F.3d

      1163, 1176 (11th Cir. 2000) (en banc).

      A.     Substantial likelihood of success on the merits

             Under RFRA, codified at 42 U.S.C. § 2000bb-1, the federal government can

      substantially burden sincere Free Exercise only if the government demonstrates that

      “application of the burden to the person” both “(1) is in furtherance of a compelling

      governmental interest; and (2) is the least restrictive means of furthering that compel-

      ling governmental interest.”

             RFRA’s focus on “the burden to the person” forecloses generalizations about

      the government’s interest and generalizations about the absence of less restrictive

      means. The government must discharge both components of RFRA’s burden

      “through application of the challenged law ‘to the person’ — the particular claimant

      whose sincere exercise of religion is being substantially burdened.” Gonzales v. O Cen-

      tro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 430–31 (2006); see also Burwell v.

      Hobby Lobby Stores, Inc., 573 U.S. 682, 727–28 (2014) (emphasizing that a court must

      “‘loo[k] beyond broadly formulated interests’ and to ‘scrutiniz[e] the asserted harm

      of granting specific exemptions to particular religious claimants’”) (alterations in

      original) (quoting O Centro, 546 U.S. at 431). That is, a district court must not defer

      to an official’s “mere say-so that [the official] could not accommodate” a request.

      Holt v. Hobbs, 574 U.S. 352, 369 (2015). RFRA demands a “more focused” inquiry

      and requires scrutiny of the “‘marginal interest in enforcing’ the challenged

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      government action in that particular context.” Holt, 574 U.S. at 363 (citing Hobby

      Lobby, 573 U.S. at 726–27). Accordingly, RFRA exceeds the pre-Smith protection of

      Free Exercise. City of Boerne v. Flores, 521 U.S. 507, 535 (1997) (holding that RFRA

      “imposes in every case a least restrictive means requirement — a requirement that

      was not used in the pre-Smith jurisprudence RFRA purported to codify”); McAllen

      Grace Brethren Church v. Salazar, 764 F.3d 465, 475 (5th Cir. 2014) (holding that

      RFRA’s requiring the least-restrictive means “is a severe form of the ‘narrowly tai-

      lored’ test”).

             Also, the government’s burden of proof in opposing a preliminary injunction

      tracks the government’s burden at trial. O Centro, 546 U.S. at 429. RFRA “squarely”

      places the burden on the government to demonstrate a compelling interest achieved

      through the least restrictive means. O Centro, 546 at 429–30 (citing Ashcroft v. Am.

      C.L. Union, 542 U.S. 656, 666 (2004) (affirming the grant of a preliminary injunction

      because the government failed to satisfy the burden of proof)). Accordingly, the

      plaintiffs “must be deemed likely to prevail unless the Government has shown that

      [the plaintiffs’] proposed less restrictive alternatives are less effective” than the bur-

      den imposed by the government. Ashcroft, 542 U.S. at 666. Showing that the chal-

      lenged action has “some effect” on achieving a governmental interest is insufficient.

      Ashcroft, 542 U.S. at 666; O Centro, 546 U.S. at 418.

             Viewed from a different vantage, RFRA requires in practice that the Marine

      Corps articulate — that is, display for informed review — the Marine Corps’s calcu-

      lation of the extent of the adverse effect on the health and readiness of the force that

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      results from allowing a particular Marine to faithfully observe the Marine’s sincere

      religious belief while serving any reasonable health and safety practice the Marine

      Corps might prescribe and explain why incurring that marginal adverse effect unac-

      ceptably impairs some compelling governmental interest.

             1.     The COVID-19 vaccination requirement substantially
                    burdens the class members’ Free Exercise.

             A direct order to accept the injection of a substance against which a Marine

      harbors a sincere religious objection substantially burdens Free Exercise. Wisconsin v.

      Yoder, 406 U.S. 205, 218 (1972) (finding the existence of a substantial burden “ines-

      capable, for the Wisconsin law affirmatively compels them, under threat of criminal

      sanction, to perform acts undeniably at odds with fundamental tenets of their reli-

      gious beliefs”); Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058, 1069–70 (9th Cir.

      2008) (explaining that a “substantial burden” exists if a person is “coerced to act con-

      trary to their religious beliefs by threat of civil or criminal sanctions”).

             Although Marines of different faiths, different education, and different acu-

      men might understand or explain this objection differently and with more or less

      clarity, many Marines, including Christians and Muslims, object that the COVID-19

      vaccine was developed from cell lines derived from electively aborted fetuses and

      that introducing an mRNA-active substance into their body either desecrates their

      body, a temple of the Holy Spirt, or is haram, forbidden. In any case, neither the mil-

      itary nor the judiciary can judge the validity of a religious objection (unless the objec-

      tion is irrational, delusional, or the like) — but can judge only the sincerity of the


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      belief, which is demonstrated firmly in the administrative record by the chaplain’s as-

      sessment of sincerity. (Again, because a Marine lacking a chaplain’s affirmation of

      sincerity is not a member of the class, this order affords relief only to those Marines

      for whom the chaplain has affirmed the sincerity of belief.)

              Notwithstanding a chaplain’s affirmation, the Marine Corps rejects as insub-

      stantial any religious objection grounded in the vaccine’s connection to aborted fetal

      tissue because “fetal stem cells are neither used in the manufacture of the Pfizer

      COVID-19 vaccine nor are they present in the vaccine itself.” This “finding,” a uni-

      lateral lay declaration about a much-discussed and much-debated topic, says nothing

      about the use of aborted fetal cells in the development of the vaccine and this finding

      says nothing about (and can say nothing about) the theological consequences of that

      use or about either moral or factual uncertainty. The “finding” says nothing about

      the religious concepts of, for example, accepting a personal benefit from evil, assist-

      ing someone in profiting from evil, cooperating in evil, appropriation of evil, de-sen-

      sitization to evil, moral contamination by intimacy with evil, ratification of evil,

      complicity with evil, or other considerations undoubtedly familiar to a theologian

      and likely familiar to a thoughtful and religious lay person who has contemplated

      evil.

              The Marine Corps’s blanket rejection of RFRA’s burden confuses the sincerity

      inquiry with the substantial burden inquiry, which further reveals the systemic failure

      under which the Marine Corps’s resolution of religious accommodations labors. Of

      course, the injection into the body of a substance against which the recipient harbors

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      a sincere religious objection is morally repugnant (to the class) and perforce burdens

      Free Exercise. And the burden is substantial not because the vaccine and the aborted

      tissue satisfy some arbitrary degree of connectedness but because the order to accept

      injection of the vaccine forces the religiously objecting Marine to choose between be-

      traying a sincere religious conviction and suffering court martial or separation from

      the military and, likely, visiting adverse consequences on the Marine’s family (such

      as the abrupt eviction from military housing and disenrollment from military

      schools). The Marine Corps “dodges the question that RFRA presents . . . and in-

      stead addresses a very different question that the federal courts [and the military]

      have no business addressing.” Burwell, 573 U.S. 724. 12

              2.      The record reveals a systemic failure by the Marine Corps to satisfy
                      RFRA.

              If an applicant demonstrates that the Marine Corps substantially burdens the

      applicant’s Free Exercise, the government must “demonstrate” under 42 U.S.C.

      § 2000bb-1(b), that is, the government must bear the burden of going forward with

      the evidence and satisfying the burden of persuasion, that application of the burden




              12
                 Also, the Marine Corps asserts that even if the Pfizer COVID-19 vaccine is repugnant to
      certain religious beliefs, the applicant can accept a different COVID-19 vaccine. But the Marine
      Corps cites no source and provides no analysis suggesting that any other vaccine avoids the appli-
      cant’s religious objection. Regardless, only the Pfizer COVID-19 vaccine has received FDA ap-
      proval, and under 10 U.S.C. § 1107(a) the military cannot compel acceptance of a vaccine author-
      ized for emergency use absent a waiver in writing by the President (no waiver has occurred). Ac-
      cordingly, the Marine Corps can compel acceptance of the Pfizer vaccine only. Whether Section 564 of
      the Food, Drug, and Cosmetic Act Prohibits Entities from Requiring the Use of a Vaccine Subject to an Emer-
      gency Use Authorization, 45 Op. O.L.C. ---, slip op. at 16 (July 6, 2021) (“DOD informs us that it has
      understood section 1107a to mean that DOD may not require service members to take an EUA
      product that is subject to the condition regarding the option to refuse, unless the President exercises
      the waiver authority contained in section 1107a.”).
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      “to the person” both “(1) is in furtherance of a compelling governmental interest[]

      and (2) is the least restrictive means of furthering that compelling governmental inter-

      est.” RFRA’s focus on “the application of the burden to the person” demands more

      than dismissive, encompassing, and inflexible generalizations about the govern-

      ment’s interest and about the absence of a less restrictive alternative. Davila v. Glad-

      den, 777 F.3d 1198, 1206 (11th Cir. 2015) (“broadly formulated interests” and “gen-

      eralized statement[s]” will not suffice). Instead, the government must proffer “spe-

      cific and reliable evidence” (not formulaic and generic commands, policies, and con-

      clusions) demonstrating that the marginal benefit flowing from a specific denial fur-

      thers a compelling governmental interest.

            To permit adequate scrutiny of a particular denial, RFRA requires that the

      Marine Corps offer more than “generalized statements of interest, unsupported by

      specific and reliable evidence.” Davila, 777 F.3d at 1206. In Davila, a federal pris-

      oner asked to bring into the prison a set of beads necessary for a Santeria ritual. Un-

      der prison policy requiring that “religious items . . . be received only from ‘approved

      vendors’ listed in the prison catalog,” the prison denied the prisoner’s request be-

      cause the beads could not be purchased from the catalog. Davila, 777 F.3d at 1202.

      The prisoner sued and alleged that the refusal violated RFRA. Relying on “a prison

      warden’s terse affidavit” and “offer[ing] little more than a conclusory assertion” that

      “permitting inmates to obtain personal religious items from unauthorized sources . . .

      would drastically increase an inmate’s ability to smuggle contraband [or] weapons”

      and that the individual screening of a religious item from an unauthorized source

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      would “have a major impact on prison resources,” the prison employees argued that

      the refusal in accord with the prison policy satisfied RFRA. Davila, 777 F.3d at

      1203–06. Holding that the prison employees “failed, as a matter of law, to meet their

      burden of demonstrating that their policy furthers a compelling government[al] inter-

      est,” Davila instructs that an official “cannot simply utter[] magic words . . . and as a

      result receive unlimited deference from those of us charged with resolving these dis-

      putes.” Davila, 777 F.3d at 1206–07 (citing O Centro, 546 U.S. at 438). The conclu-

      sory assertions by the prison employees “left [the Eleventh Circuit] to wonder” about

      the number of similarly situated objectors, the prison’s process for screening objects,

      past incidents justifying the warden’s fears, and “the actual costs and time the prison

      would need to spend on screening” religious items purchased from unauthorized

      sources. Davila, 777 F.3d at 1206. Davila continues that the prison employees failed

      to show “that the[] wholesale ban on religious items outside the catalog is the least

      restrictive means for furthering” a compelling interest. Davila, 777 F.3d at 1207.

      Thus, despite the “due deference” afforded “to the experience and expertise” of

      prison employees to maintain good order, security, and discipline, Davila finds

      RFRA’s requirements unmet. Davila, 777 F.3d at 1206.

            The record reveals a substantial likelihood that the Marine Corps fails systemi-

      cally to conduct the analysis required by RFRA, that is, fails to discharge the burden

      of demonstrating — “to the person” — a compelling interest to vaccinate each appli-

      cant. First, the Marine Corps’s formularized denial undermines the contention that

      the Marine Corps conducts an “individualized assessment” of an applicant. To

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      justify the denial of each applicant’s appeal, the Marine Corps asserts that the denial

      furthers a compelling interest in military readiness and in securing the health of the

      force. But “[military] officials cannot simply utter the magic words [‘military readi-

      ness and health of the force’] and as a result receive unlimited deference from those

      of us charged with resolving the dispute.” See Davila, 777 F.3d at 1206 (citing O Cen-

      tro, 546 U.S. at 438). No appellate denial in the record addresses with any meaning-

      ful degree of specificity the factual circumstances of the applicant’s service or ana-

      lyzes the marginal increase, if any, in the risk of contagion incurred by granting the

      requested accommodation and the marginal detrimental effect, if any, on military

      readiness and the health of the force flowing from the specific denial of the appli-

      cant’s requested accommodation from COVID-19 vaccination. No denial assesses

      the age, fitness, health, or natural immunity of the applicant or otherwise assesses,

      for example, whether the particular applicant is acutely vulnerable to complications

      from COVID-19 as to warrant the suspension of the applicant’s Free Exercise. No

      appellate denial assesses whether the daily and tangible circumstances of an appli-

      cant’s service are so likely to result in transmission to Marines as to warrant the sus-

      pension of the applicant’s Free Exercise. (Although the appellate record includes a

      checklist identifying the circumstances in which an applicant works in close proxim-

      ity to others, a study of these appellate records reveals that even the most insular Ma-

      rine is denied an accommodation — without explanation). Although each appellate

      denial affirms that which no party disputes — that COVID-19 vaccination might pro-

      mote to some extent the health and readiness of the force — no denial demonstrates

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      that accommodating a particular applicant will meaningfully impede the health and

      readiness of the 95% vaccinated force or meaningfully impede the military’s opera-

      tions and duties.

            To bolster the asserted compelling interest, the Marine Corps relies on declara-

      tions by Lescher, Yun, and Rans. These affidavits fail, consistent with the balance of

      the Marine Corps’s presentation, to focus on the assignment, duty, working circum-

      stances, and performance and the like of a RFRA applicant. Further, for the most

      part, the declarations contain generalizations and conclusions about “the force” as a

      whole or aggregated portions of the whole force. The declarations fail, at a mini-

      mum, to disaggregate by age, by medical characteristics (for example, BMI, diabetes,

      high blood pressure, etc.), by assignment, and the like. The declarations evidence

      mostly historical data from the 2020 and 2021 pre-Omicron, pre-vaccine phase of the

      pandemic. A RFRA assessment by the Marine Corps ought to depend on data de-

      scribing the present state of “the force” — after Omicron and after 95% vaccination

      and not on a date from 2020 or early 2021. In sum, the declarations, both bulky and

      full of numbers, say little or nothing about, for example, the marginal risk, if any,

      that a particular religiously objecting Marine cannot serve — consistent with the sin-

      cerely held religious belief — without vaccination as a reasonable accommodation

      that both preserves the compelling governmental interest and reasonably accommo-

      dates Free Exercise. That is the question, as to each applicant, the Marine Corps

      scrupulously avoids. But that is a question that RFRA burdens the Marine Corps to

      answer. It has not.

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            Second, the Marine Corps invariably rejects an accommodation because pre-

      cautions other than vaccination lack comparable efficacy and “are often incompati-

      ble with the demands of military life.” But RFRA demands an assessment of the

      “‘marginal interest in enforcing’ the challenged government action in that particular

      context.” Holt, 574 U.S. at 363 (citing Hobby Lobby, 573 U.S. at 726–27). The Ma-

      rine Corps’s invoking the general observation that precautions other than vaccination

      might interfere with “the demands of military life” is insufficient to demonstrate “to

      the person,” that is, in the “particular context” of an applicant’s service, that no pre-

      caution other than vaccination is suitable. Further, the Marine Corps invariably fails

      to demonstrate in the context of each applicant that precautions other than vaccina-

      tion remain unsuitable even though more than 95% of the Marine Corps is fully vac-

      cinated against COVID-19.

            Earlier orders discuss — for illustrative or suggestive purposes only — what

      sort of “to the person” evaluation one might expect to see if the Marine Corps had

      conducted that evaluation. For example, reason suggests that the Marine Corps

      might show why the Marine Corps cannot — in the facts of actual performance —

      accommodate a Marine, when 95% of the Marine Corps is vaccinated (and 98% of

      the whole United States military is vaccinated) and a relatively weak and transient

      COVID-19 variant is dominant, even though these same Marines served entirely

      without vaccination in 2020 during the height of the pandemic. The unrebutted fea-

      sibility of other accommodations, including an array of safety protocols, remains

      compelling (history is difficult to rebut). Perhaps the Marine Corps has a good

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      response — directed “to the person” of a Marine — but, because they fail to

      acknowledge the correct issue (or, at least, the correct focus of the issue), the Marine

      Corps’s papers remain largely unresponsive. In other words, the efficacy of precau-

      tions other than vaccination is built into the record, and the Marine Corps under-

      takes no meaningful effort to disprove the suitability of these precautions. And the

      record reveals that the passage of time since the outbreak of COVID-19 has not dete-

      riorated the efficacy of these alternative precautions. Rather, as the record confirms,

      the passage of time has resulted in an almost entirely vaccinated Marine Corps and

      in COVID-19 variants of much less severity, especially among strong, young,

      healthy, fit Marines — that is, by far the most of them.

            Third, the Marine Corps in denying religious accommodations cites the re-

      quirement that every Marine be “worldwide deployable” and repeats that worldwide

      deployability requires vaccination against COVID-19. MARADMIN 612/21 3(c).

      But the Marine Corps cannot evade RFRA by defining the conditions of service to

      exclude the possibility of an accommodation. This definitional sleight of hand

      evades the inquiry that RFRA demands: whether the Marine Corps’s generalized in-

      terest in worldwide deployability is materially impaired by tolerating a few religious

      objectors and accommodating their continued service to the Marine Corps despite

      the generalized policy of worldwide deployability.

            Fourth, the failure to consider any accommodation that modifies the condi-

      tions of the religious objector’s service to minimize the risk of COVID-19 while



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      retaining the benefit of the objector’s skill, training, and experience reveals another

      systemic defect in the Marine Corps’s resolution of religious accommodations.

             Finally, the record confirms that the Marine Corps is most likely unable to es-

      tablish, and certainly has not established, that permitting a minimal number of sin-

      cere RFRA objectors (comprising a minute fraction of the 18,600-member, 95%-vac-

      cinated Marine Corps) to serve without adverse consequence to their rank and the

      terms and conditions of their service will adversely affect the governmental interest in

      the maintenance and readiness of the nation’s military forces. In fact, the govern-

      ment undoubtedly has some considerable interest in maintaining the services of

      skilled, experienced, highly trained, patriotic, courageous, and esteemed Marines

      (and service members in other branches) in whom the public has an immense finan-

      cial investment and who are not typically readily replaceable. The Marine Corps has

      focused exclusively on one factor and dismissed the other without comment.

      C.     Irreparable harm

             One irreparable harm suffered by a RFRA applicant unlawfully denied an ac-

      commodation is the accompanying order to accept COVID-19 vaccination and be-

      tray a religious conviction. “The loss of First Amendment freedoms, for even mini-

      mal periods of time, unquestionably constitutes irreparable injury.” Roman Cath. Dio-

      cese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020); Opulent Life Church v. City of Holly

      Springs, 697 F.3d 279, 295 (5th Cir. 2012) (“This principle applies with equal force to

      the violation of RLUIPA rights because RLUIPA enforces First Amendment free-

      doms[.]”); Holt, 574 U.S. at 357–58 (extending this principle to RFRA). A religious

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      objector suffers a loss of religious exercise when government “puts [the objector] to

      this choice”: violate a sincerely held religious belief or “face serious disciplinary ac-

      tion.” Holt, 574 U.S. at 361. In other words, a RFRA objector’s claim ripens — and

      subjects the RFRA objector to irreparable harm — upon the threat of serious disci-

      pline, not upon the realization of the threat. See Steffel v. Thompson, 415 U.S. 452,

      459 (“[I]t is not necessary that petitioner first expose himself to actual arrest or prose-

      cution to be entitled to challenge a statute that he claims deters the exercise of his

      constitutional rights.”). Because, as the Marine Corps willingly concedes, a Marine’s

      failure to comply with an order to receive COVID-19 vaccination subjects the Ma-

      rine to a “substantial threat” of serious discipline including discharge, a RFRA objec-

      tor’s claim ripens upon the receipt of the order to receive vaccination. See Susan B.

      Anthony List v. Driehaus, 573 U.S. 149, 164 (2014).

             Further, as Air Force Officer v. Austin, --- F. Supp. 3d ---, 2022 WL 468799

      (M.D. Ga. Feb. 15, 2022), and U.S. Navy SEALs 1–26 v. Biden, --- F. Supp. 3d ---,

      2022 WL 34443, at *1 (N.D. Tex. Jan. 3, 2022), correctly recognize, the “substantial

      pressure” on a religiously objecting Marine to obey the COVID-19 vaccination order

      and violate a sincerely held religious belief constitutes an irreparable harm warrant-

      ing a preliminary injunction. See BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 618

      (5th Cir. 2021). Requiring a Marine either to follow a direct order contrary to a sin-

      cerely held religious belief or to face immediate processing for separation or other

      punishment undoubtedly causes irreparable harm. Sambrano v. United Airlines, Inc.,

      2022 WL 486610, at *7 (5th Cir. 2022) (per curiam) (“Crucially, plaintiffs are not

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      seeking an injunction merely to prevent an adverse employment action . . . . Their al-

      legation of irreparable harm based on coercion is antecedent to, independent from,

      and exogenous to any adverse employment action.”); Sambrano v. United Airlines, Inc.,

      19 F.4th 839, 842 (5th Cir. 2021) (Ho, J., dissenting from denial of injunction pend-

      ing appeal) (“To hypothesize that the earthly reward of monetary damages could

      compensate for these profound challenges of faith is to misunderstand the entire na-

      ture of religious conviction at its most foundational level.”).

             Because the Marine Corps has ordered many Marines and will order more to

      receive vaccination — an order that “puts [each plaintiff] to th[e] choice” of either

      betraying a sincerely held religious belief or facing a substantial threat of serious dis-

      cipline — the class suffers a substantial burden under Holt, 574 U.S. at 361, and con-

      sequently suffers irreparable harm.

      D.     The balance of equities and the public interest

             Because the religiously objecting Marines request preliminary relief against of-

      ficials of the federal government, the analysis on the balance of equities and the anal-

      ysis on the public interest merge. Nken v. Holder, 556 U.S. 418, 435 (2009). As the

      plaintiffs correctly argue, the public has no interest in tolerating an unnecessary in-

      fringement on Free Exercise. See Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114,

      1145–47 (10th Cir. 2013); Beckwith Elec. Co. v. Sebelius, 960 F. Supp. 2d 1328, 1350

      (M.D. Fla. 2013). “The vindication of constitutional rights and the enforcement of a

      federal statute serve the public interest almost by definition.” League of Women Voters

      of Fla. v. Browning, 863 F. Supp. 2d 1155, 1167 (N.D. Fla. 2012).

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            In opposition, the Marine Corps argues that preliminary relief “would encour-

      age other members to attempt to bypass the military’s process and ask courts to enter

      similar injunctive relief, which ‘in the aggregate present the possibility of substantial

      disruption and diversion of military resources[.]’” Parrish v. Brownlee, 335 F. Supp.

      2d 661, 669 (E.D.N.C. 2004)). But no injury to the public results from recognizing a

      person’s constitutional or statutory right or from “encouraging” a person to vindicate

      that right in federal court, especially when the statute creating the right expressly au-

      thorizes such judicial vindication. Further, to the extent a “substantial disruption”

      results from the Marine Corps’s systemic failure to assess a religious accommodation

      request “to the person,” the “harm” suffered by defendants results only from the de-

      fendants’ intractable failure to comply with RFRA.

            By enacting RFRA, Congress guaranteed each Marine “appropriate relief”

      from an infringement on the Marine’s Free Exercise. To say the least, an attempted

      evasion of judicial review strongly disserves the public interest. See 11A Charles

      Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure §

      2947 (3d ed. Apr. 2021 update) (“Although the fundamental fairness of preventing

      irremediable harm to a party is an important factor on a preliminary-injunction appli-

      cation, the most compelling reason in favor of entering a Rule 65(a) order is the need

      to prevent the judicial process from being rendered futile by defendant's action or re-

      fusal to act.”). For the past two years, the Marines serving in the Marine Corps have

      ably discharged their duties. Almost all served at the onset of the pandemic and

      served successfully during peak jeopardy in the pandemic and before any vaccination

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      against COVID-19 existed, almost all served during the height of the Delta variant

      surge, and almost all served during the Omicron variant. Nothing in the record estab-

      lishes that preliminary injunctive relief for the religiously objecting Marines harms

      the public interest. Preserving and extending the status quo for a brief interval pro-

      tects Free Exercise and ensures judicial review of allegedly wrongful government ac-

      tion. The record fails to demonstrate any meaningful increment of harm to national

      defense likely to result because these Marines continue to serve — as they have

      served — unvaccinated but in accord with other, proven, rigorous, and successful

      safety protocols.

                                          CONCLUSION

             RFRA directs the district court to award a successful plaintiff an “appropriate

      remedy” to protect Free Exercise against undue restriction by any component of the

      federal government, which includes the legislative, the judicial, and the executive

      branch, including the armed forces and, in this instance, including the Marine Corps.

      The singular characteristics of the plaintiff class in this action, the singular nature of

      the defendants in this action, the singular statute at issue in this action, the singular

      breadth of the statutory remedy prescribed, and the singular public interest in pre-

      serving both a fundamental constitutional right and a robust and ready military,

      prompted direct inquiries with counsel for the plaintiffs about the plaintiffs’ proposed

      remedy if finally successful in the action on the merits. Counsel confirmed that the

      plaintiffs will not request (and the court will not, in any event, grant) an order



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      awarding the class of Marines or awarding any or every Marine individually, a reli-

      gious accommodation under RFRA.

            The class claims that the Marine Corps — in practice and despite publicly

      available orders from the Secretary of Defense and others — systematically and uni-

      formly has denied and will deny imminently several thousand of, in fact, each and

      every one of, the applications for a RFRA accommodation from the COVID-19 vac-

      cination requirement and has or imminently will subject those Marines to expulsion

      (and gratuitously rude and demeaning treatment in the interim). For a remedy, the

      plaintiffs request only (which is the only remedy foreseeably “appropriate”) an order

      re-committing the Marines’ applications en masse to the Marine Corps for a determi-

      nation in accord with the “to the person” requirement and other requirements of

      RFRA. The determination of the application for an accommodation is a matter pe-

      culiarly within the province and expertise of, in this instance, the Marine Corps; the

      Marine Corps’s compliance with the requirements of RFRA is a matter peculiarly

      within the province and expertise of the judiciary (otherwise, RFRA is without

      meaning or effect). Of course, any injunction must preserve at least minimally the

      status quo (that is, an injunction must protect each Marine against at least expulsion,

      forced vaccination, and retaliation for asserting RFRA rights) pending the Marine

      Corps’s RFRA-compliant determination of each application.




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             The motion (Doc. 35) for class certification is GRANTED-IN-PART. A

      class is CERTIFIED comprising:

                     All persons on active duty or in the ready reserve (1) who serve
                     under the command of the Marine Corps, (2) who were af-
                     firmed by a chaplain as harboring a sincere religious objection,
                     (3) who timely submitted an initial request for a religious ac-
                     commodation, (4) who were denied the initial request, (5) who
                     timely appealed the denial of the initial request, and (6) who
                     were denied or will be denied after appeal.

      The plaintiffs’ counsel is APPOINTED as class counsel.

             The motion (Doc. 2) for a preliminary injunction is GRANTED-IN-PART.

      The defendants are PRELIMINARILY ENJOINED (1) from enforcing against a

      member of the class any order, requirement, or rule to accept COVID-19 vaccina-

      tion, (2) from separating or discharging from the Marine Corps a member of the class

      who declines COVID-19 vaccination, and (3) from retaliating against a member of

      the class for the member’s asserting statutory rights under RFRA. 13

             This preliminary injunction EXCLUDES Lieutenant Colonel 2 14 and USMC

      Captain, each of which is separately protected by a preliminary injunction currently




              13
                 Nothing in this injunction precludes the defendants from considering a class member’s
      “vaccination status in making deployment, assignment, and other operational decisions.” Austin v.
      U. S. Navy Seals 1-26, 142 S. Ct. 1301 (2022).
             14
                In accord with the severance order (Doc. 194), Lieutenant Colonel 2 remains a plaintiff in
      the original action, Navy Seal 1 et al v. Austin et al, 8:21-cv-2429-SDM-TGW. See Doc. 194 at 7.
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      on appeal. This exclusion is without prejudice to a motion for inclusion of either af-

      ter the pending appeal.

            ORDERED in Tampa, Florida, on August 18, 2022.




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